Case 8:20-cv-00587-WFJ-SPF Document 25 Filed 06/23/20 Page 1 of 2 PageID 160



                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE MIDDLE DISTRICT OF FLORIDA


 ROBERT MERCED, Individually and on
 behalf of the ESTATE OF ELVIA
 RIVERA,

             Plaintiffs,                           Case No. 8:20-cv-00587-WFJ-SPF

       v.

 NOVARTIS PHARMACEUTICALS
 CORPORATION,

             Defendant.



            NOTICE OF COMPLIANCE WITH LOCAL RULES, FEES, AND
                    PRO HAC VICE FILING REQUIREMENTS

       Pursuant to this Court’s June 3, 2020 Order granting Plaintiffs’ Motion to Admit attorney

Raymond C. Silverman pro hac vice, counsel hereby files this Notice of Compliance with Local

Rule 2.02, stating that Raymond C. Silverman has paid all required fees and registered with the

Middle District of Florida’s Electronic Court Filing System pursuant to Rule 2.01(d), and has read

and understands the Local Rules, including Rule 2.04 in particular.
Case 8:20-cv-00587-WFJ-SPF Document 25 Filed 06/23/20 Page 2 of 2 PageID 161



Dated: June 23, 2020                          Respectfully submitted,

                                              By: /s/ Francisco A. Albites
                                              Francisco A. Albites, #78046
                                              PARKER WAICHMAN LLP
                                              27299 Riverview Center Boulevard
                                              Suite 108
                                              Bonita Springs, Florida 34134
                                              Tel.: (239) 390-8612
                                              Fax: (239) 390-0055
                                              falbites@yourlawyer.com

                                              Raymond C. Silverman (Pro Hac Vice)
                                              PARKER WAICHMAN LLP
                                              6 Harbor Park Drive
                                              Port Washington, New York 11050
                                              Tel.: (516) 466-6500
                                              Fax: (516) 466-6665
                                              rsilverman@yourlawyer.com


                                 CERTIFICATE OF SERVICE

       I certify that on this 23nd day of June 2020, I electronically filed the foregoing with the

Clerk of the Court by using the CM/ECF system, and thereby delivering by electronic means to all

counsel of record.




                                                      /s/ Francisco A. Albites
                                                      Francisco A. Albites




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